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1   CIT—   ESERVECase 3:21-cv-01250-N Document 1-3 Filed 05/28/21 Page 2 of 13 PageID 11                                FELICIA PITRE
                                                                                                                     DISTRICT CLERK
                                                                                                                    DALLAS 00., TEXAS
                                                                                                            JAVIER HERNANDEZ DEPUTY
                                                                         DC-21 -05553
                                                      CAUSE NO.

               JENNIFER TEMPLE,                                    §                IN THE DISTRICT COURT          0F
                                                                   §
                        Plaintiff,                                 §
                                                                   §
               V.                                                  §                      DALLAS COUNTY, TEXAS
                                                                   §
               WFAA-TV, INC.,                                      §           1   91st
                                                                   §
                        Defendant.                                 §                            JUDICIAL DISTRICT
                                               PLAINTIFF’S ORIGINAL PETITION
                                                                   I.

                                                         INTRODUCTION
                       Jennifer Temple (“Plaintiff”) ﬁles this Original Petition against              WFAA-TV,     Inc.

               (“Defendant”).

                                                                   II.

                                                 DISCOVERY CONTROL PLAN
                        l.        Plaintiff intends to conduct discovery under Level        3   of Texas Rule of Civil

               Procedure 190.4.

                                                                  III.

                                                               PARTIES
                       2.         Plaintiff is an individual and a citizen of Denton County, Texas. The last three

               numbers       of her social security number are 496 and the last three numbers of her Texas driver’s

               license are 219.

                        3.        Defendant is a corporation organized under the laws of the state of Delaware with

               its principal place     of business located   at 8350 Broad Street, Suite 2000, Tysons,     VA   22102.

               Defendant may be served with process, including citation and a copy of this lawsuit, by serving




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Defendant’s registered agent for service of process,         CT   Corporation System, 1999 Bryan Street,

Suite 900, Dallas, Texas 75201.

                                                       IV.

                                                  JURISDICTION
          4.      The Court has jurisdiction over this action because the amount in controversy,

exclusive of interest and costs, is within the jurisdictional limits of the Court.

          5.      Plaintiff seeks monetary relief over $1,000,000.00.

                                                       V.

                                                      VENUE
          6.      Venue is proper in Dallas County because (a) Defendant’s principal place of

business is in Dallas County} and (b) all or a substantial part of the events and omissions giving

rise to Plaintiffs claims occurred in Dallas County?

                                                       VI.

                                             BACKGROUND FACTS
          7.      Plaintiff, a 48 year old female, worked for Defendant from on or about August

2017 until she was wrongfully terminated on or about July 13, 2020.

          8.      Since the beginning of Plaintiff‘s employment, a certain group of employees

under the age     of 40 targeted Plaintiff, lied about her    to management and other employees, and


conspired against her to have her ﬁred. The culture of the company is one that supports bullying,

sexual harassment, and derogatory comments about age and other protected classes. Defendant

encouraged this group of harassers to bully and harass other employees by allowing them to do

so to the point   of causing targeted employees to resign or be terminated.

1
    TEx. C1v. PRAC. & REM. CODE   §   15.002(a)(2).
2
    TEX. C1v. PRAC. & REM. CODE   §   15.002(a)(1).


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         9.      Over the years, there were constant comments of Plaintiff s age by the group of

younger employee harassers, and these comments were endorsed and well known by

management. This group of employees gave Plaintiff a       Life Alert monitor     as a gag-gift for her


birthday one year, which embarrassed Plaintiff since Life Alert monitors are clearly sold to and

used by the elderly.

         10.     Defendant’s management favored younger employees over older employees.

Defendant’s management refused to allow Plaintiff to hire an experienced account executive,

who was over the age of 40, claiming he was too old to work for the company.

         11.     Defendant’s employees also spread inappropriate pictures and made inappropriate

comments via text message, including a full-frontal photo of a naked man. In addition,

Defendant tolerated drunken, lewd, inappropriate sexual comments and behavior, including the

sharing of pornographic text messages and images, at company events and in the ofﬁce. Male

employees and employees under the age of 40 routinely shared inappropriate sexual and

pornographic messages with other employees, but these male employees and the employees

under the age   of 40 were never disciplined or terminated for such behavior.

         12.     Plaintiff was well-respected and well-liked by most of her staff and other

employees, with the exception of the group of young employee harassers who targeted her.

Despite this, Plaintiff was advised during a conference call on July     l,   2020, that she was under

investigation for inappropriate statements made at work. During this conference, Plaintiff

explained that the allegations were untrue. Plaintiff asked   if any employees that had sent sexually

explicit text messages or made inappropriate comments at work were also being investigated.

Plaintiff was advised that they could not discuss other employees. Plaintiff provided Defendant




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with a written statement rebutting their allegations and discussing the harassment and

discrimination she had experienced in the workplace.

          13.     On July 13, 2020, Plaintiff was called into a meeting and terminated for allegedly

making sexual comments at an off-site lunch, nine months prior. Not only was the reason for the

termination untrue, Plaintiff was terminated for something that younger employees were allowed

to do on a daily basis with impunity. Throughout the events that led up to Plaintiff‘s termination,

Defendant’s employees continued to spread lies about Plaintiff and defame Plaintiff s character

to other media outlets, in order to prevent her from working for any other media outlet in the

Dallas-Fort Worth area. Aﬁer Plaintiff’s termination, the Dallas-Fort Worth media community

learned    of the lies spread about Plaintiff by Defendant’s employees.

                                                  VII.

                                     CONDITIONS PRECEDENT
          14.     Plaintiff ﬁled the attached Charge of Discrimination with the Equal Employment

Opportunity Commission, and this Charge was dual ﬁled with the Texas Workforce Commission

pursuant to those agencies’ work sharing agreement.

          15.     The Charge was ﬁled within 180 days after Plaintiff was terminated.

          l6.     More than 180 days have passed since the Charge was ﬁled and no action has

been taken.

          17.     Plaintiff has timely exhausted all of her administrative remedies.

                                                  VIII.

                                            CAUSES 0F ACTION
A.        Cause of Action—Sexual Harassment—Hostile Work Environment—TCHRA3

          18.     Plaintiff incorporates each of the foregoing paragraphs.

3
    Texas Commission on Human Rights Act.


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         19.     Defendant subjected Plaintiff to a sexually hostile work environment.

         20.     The conduct Defendant allowed to take place permeated Plaintiff’s workplace

with discriminatory intimidation, ridicule, and insult, and was sufﬁciently severe and pervasive

to alter the conditions   of Plaintiff‘s employment and create an abusive working environment.

         21.     Defendant’s actions violated section 21.051 of the Texas Labor Code.

B.       Cause of Action—Sex Discrimination—TCHRA

        22.      Plaintiff incorporates each of the foregoing paragraphs.

         23.     Defendant discriminated against Plaintiff because of her sex.

         24.     Plaintiff was treated differently than similarly situated males.

        25.      Defendant’s actions violated section 21.051 of the Texas Labor Code.

C.       Cause of Action—Wrongful Termination—Sex Discrimination—TCHRA

        26.      Plaintiff incorporates each of the foregoing paragraphs.

         27.     Defendant discriminated against Plaintiff because of her sex and terminated her

employment because of her sex.

         28.     Defendant’s actions violated section 21.051 of the Texas Labor Code.

D.       Cause of Action—Age Discrimination—TCHRA

         29.     Plaintiff incorporates each of the foregoing paragraphs.

         30.     Defendant discriminated against Plaintiff because of her age.

         31.     Defendant’s actions violated section 21.051 of the Texas Labor Code.

E.       Cause 0f Action—Wrongful Termination— Age Discrimination—TCHRA

         32.     Plaintiff incorporates each of the foregoing paragraphs.

         33.     Defendant terminated Plaintiff’ s employment because of her age.

         34.     Defendant’s actions violated section 21.051 of the Texas Labor Code.




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F.         Cause of Action—Unlawful Retaliation—TCHRA

           35.   Plaintiff incorporates each of the foregoing paragraphs.

           36.   Plaintiff engaged in protected activity as set forth in Texas Labor Code section

21.055.

           37.   In response, Defendant retaliated against Plaintiff and ultimately terminated her

employment.

           38.   Defendant’s actions violated section 21.055 of the Texas Labor Code.

                                                 IX.

                                            DAMAGES
           39.   Plaintiff incorporates each of the foregoing paragraphs.

           40.   Defendant’s actions violated the   TCHRA, which entitles Plaintiff to recover from
Defendant back pay, front pay, compensatory damages, as well as pre-judgment and post-

judgment interest.

           41.   Because Defendant’s actions were done with actual malice and/or reckless

indifference to Plaintiff’s state-protected rights, Plaintiff is entitled to recover from Defendant

punitive damages.

           42.   Plaintiff seeks all damages available to her under the Texas Anti-Retaliation

Statute.

                                                    X.

                                ATTORNEYS’ FEES AND COSTS
           43.   Plaintiff incorporates each of the foregoing paragraphs.

           44.   Plaintiff retained the services of undersigned counsel to prosecute her claims.

           45.   Pursuant to Texas Labor Code section 21.259, Plaintiff is entitled to recover a

reasonable attorneys’ fee from Defendant, including reasonable expert fees.



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                                                  XI.
                           INJUNCTIVE AND DECLARATORY RELIEF
        46.      Plaintiff incorporates each of the foregoing paragraphs.

        47.      Plaintiff requests the Court enter an order providing injunctive and declaratory

relief including, but not limited to:

                 a.       Prohibiting Defendant from engaging in unlawful discrimination;

                 b.       Reinstating Plaintiff s employment with Defendant with backpay;

                          Reporting to the Court on the manner of compliance with the terms
                          of a ﬁnal order issued by this Court;

                          Paying court costs;

                          A  declaration that Defendant violated Plaintiff‘s rights under
                          Chapter 21 of the Texas Labor Code, engaged in unlawful
                          employment discrimination, and considered an illegal factor in
                          terminating Plaintiff s employment; and

                          Any additional equitable relief the Court deems proper.
                                                 XII.
                                     RESPONDEAT SUPERIOR
        48.      Plaintiff incorporates each of the foregoing paragraphs.

        49.      Defendant is liable for the acts and/or omissions of its respective agents,

representatives, employees, servants, and ofﬁcers.

                                                 XIII.

                                 PRESERVATION OF EVIDENCE
         50.     Defendant is hereby given notice that any document or other material,

including electronically stored information that may be evidence or relevant to any issue in this

case is to be preserved in its present form until this litigation is concluded.




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                                                      XIV.
                                  NOTICE PURSUANT TO RULE               193.7

         51.      Plaintiff provides notice to Defendant pursuant to Rule 193.7 of the Texas Rules

of Civil Procedure that Plaintiff may utilize          as evidence during the trial      of this lawsuit all

documents exchanged by the parties in written discovery in this case.

                                                      XV.
                                               JURY DEMAND
         52.     Plaintiff demands a trial by jury.

                                                      XVI.
                                                   PRAYER
         53.      Plaintiff respectfully requests that Defendant be cited to appear and answer, and

that upon ﬁnal trial       of this matter, the Court enter judgment awarding Plaintiff:

                 A.          Back pay and front pay (including beneﬁts);
                B.C.D.E.




                             Compensatory damages;

                             Punitive damages;

                             Reasonable attorneys’ fees and expert fees;

                             Injunctive and declaratory relief, including but not limited to, an
                             Order:

                             a.       Prohibiting Defendant     from    engaging    in     unlawful
                                      discrimination;

                                      Reinstating Plaintiff s employment with Defendant with
                                      backpay;

                                      Reporting to the Court on the manner of compliance with
                                      the terms of a ﬁnal order issued by this Court;

                                      Paying court costs;

                                      A  declaration that Defendant violated Plaintiff’s rights
                                      under Chapter 21 of the Texas Labor Code, engaged in



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                                 unlawful employment discrimination, and considered an
                                 illegal factor in terminating Plaintiff’ s employment; and

                          f.     Any additional equitable relief the Court deems proper;
                 F.       Court costs;

                          Pre-judgment and post-judgment interest at the rate set by law; and

                          All legal or equitable relief this Court deems proper.

                                                 Respectﬁilly submitted,

                                                 /s/ Jamie J. Gilmore
                                                 Jamie J. Gilmore
                                                 State Bar No. 24045262
                                                 j gilmore@ galyencom
                                                 Brittney L. Thompson
                                                 State Bar No. 24104618
                                                 bthom son      a1   en.com
                                                 BAILEY & GALYEN
                                                 1300 Summit Avenue, Suite 650
                                                 Fort Worth, Texas 76102
                                                 Telephone: 817-276-6000
                                                 Facsimile: 817-276-6010
                                                 ATTORNEYS FOR PLAINTIFF




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EEOC Form   5 (11/09)


                        CHARGE OF DISCRIMINATION                                                           Charge Presented To:                   Agency(ies) Charge No(s):
             This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
                    Statement and other information before completing this form.                              D FEPA
                                                                                                                       EEOC    450-2020-05849
                                              Texas Workforce Commission Civil Rights Division                                                                        and    EEOC
                                                                           State or local Agency, if any
Name (indicate Mr., Ms., Mrs.)                                                                                         Home Phone (Incl. Area Code)             Date of Birth

Ms. Jennifer Temple
Street Address                                                                    City, State and ZIP Code




Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That Believe                          |




Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                                   No. Employees, Members       Phone No. (Include Area Code)

TEGNA, Inc                                                                                                                    500+                      214-748-9631
Street Address                                                                    City, State and ZIP Code

606 Young Street, Dallas, Texas 75202

Name                                                                                                                   Not Employees, Members       Phone No. (Include Area Code)

TEGNA                                                                                                                         500+                      703-873-6936
Street Address                                                                    City, State and ZIP Code

    8350 Broad Street, Suite 2000, Tysons,                           VA 22102
DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                           DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                       Earliest                       Latest

    D     D
         RACE                        COLOR          SEX
                                                                D       RELIGION
                                                                                  D                  NATIONAL ORIGIN            August 2017                 July       13, 2020
       m         RETALIATION
                                        m    AGE
                                                    D       DISABILITY
                                                                                 D            GENETICINFORMATION

         D               OTHER (Specify)

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
                                                                                                                                       D          CONTINUING ACTION


    Personal Harm: was employed by TEGNA, Inc. from August 2017 until my wrongful termination on July 13, 2020.
                                 l


    Since the beginning of my employment, a certain group of women and a few men almost all under the age of 40 have
    targeted me, lied about me, and conspired against me attempting to get me fired. The culture of the company is one
    that supports bullying, sexual harassment, and derogatory comments about age and other protected classes. My
    situtation is not unique. TEGNA, Inc. allows and encourages this group of young women to bully and harass other
    employees to the point they resign or are terminated. Over the years, there have been consistent comments about my
    age by the group of younger employees. The group of harassing employees gifted me a Life Alert monitor for my
    birthday one year. This was embarassing since Life Alert monitors are clearly sold and used by the elderly population.
    The management at TEGNA, Inc. favored these employees over older employees. TEGNA, Inc. management also
    refused to allow me to hire an experienced and over-40 potential account executive claiming he was too old to work for
    the company. TENGA, Inc. employees also spread inappropriate pictures and make inappropriate comments via text
    message, including a full-frontal photo of a naked man. Further, at company events TEGNA, Inc. supports and
    encourages drunken, lewd, inappropriate sexual comments and behavior, including the sharing of pornograpic text
    messages and imagess, at company events and in the Office.


|want this charge ﬁled with both the EEOC and the State or local Agency, if any.          |
                                                                                                 NOTARY — When necessary for State and Local Agency ReqUirementS
will advise the agencies if change my address or phone number and l will
                             |




cooperate fully with them in the processing of my charge in accordance with their
procedures                                                                                       |swear or affirm that have read the above charge and that
                                                                                                                         |                                              it   is true to
|declare under penalty of perjury that the above is true and correct.                            the best of my knowledge, information and belief.
                                                                                                 SIGNATURE F COMPLAINANT


                                                                                                 SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
    August 4, 2020                                                                               (month, day, year)

            Date                                Charging Party Signature
                                EEOC Rec'd 07/20/2020
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EEOC Form    5 (11/09)


                         CHARGE OF DISCRIMINATION                                                              Charge Presented To:            Agency(ies) Charge No(s):
              This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
                     Statement and other information before completing this form.                                 CI         FEPA
                                                                                                                             EEOC
                                              Texas Workforce Commission Civil Rights Division                                                                   and   EEOC
                                                                               State or local Agency, if any
    | was well respected and well liked by most of my staff and other employee, with the exception of the group of young
    women. Despite this, on July 1, 2020, was advised during a conference call was under investigation for inappropriate
                                                            |                                                            |




    statements made at work. During this conference, explained that the allegations were untrue. In any event, asked if
                                                                                   |                                                                              |




    any employees that had sent sexually explicit texts or made inappropriate comments at work were also being
    investigated. was advised that they could not discuss other employees. also provided my employer with a writen
                         |                                                                                           |




    statement rebutting their allegations and discussing the harassment and discrimination         had experienced in the                  |




    workplace.   On July 13, 2020,   was called into
                                                |    a meeting and terminated. In the midst of the events that led up to my
    termination, TEGNA, Inc. and its employees have been spreading lies and defaming me to other media people to
    prevent me from working in the Dallas-Fort Worth media industry. The Dallas-Fort Worth media community have
    already heard the lies spread by TEGNA, Inc. and its employees.

    Respondent’s Reason for Adverse Action:
    None.

    Discrimination Statement:
    l have been discriminated against, harassed, and retaliated against because of my age (47) in violation of the Age

    Discrimination in Employment Act of 1967, as amended, and have been discriminated against, sexually harassed, and
                                                                                                |




    retaliated against in violation of Title Vll to the Civil Rights Act of 1964, as amended, and the Texas Commission on
    Human Rights Act.




Iwant this charge ﬁled with both the EEOC and the State or local Agency, if any.            l       NOTARY     - When necessary for State and Local Agency Requirements
will advise the agencies if change my address or phone number and will
                             |                                                 |




cooperate fully with them in the processing of my charge in accordance with their
pmcedures'                                                                                          lswear or affirm that l have read the above charge and that it is true to
l   declare under penalty of perjury that the above is true and correct.                            the best of my knowledge, information and belief.
                                                                                                    SIGNATURE OF COMPLAINANT


                                                                                                    SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
        August 4, 2020                                                                              (month, day, year)

             Date                                   Charging Party Signature
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                         Automated Certificate of eService
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Jamie Gilmore on behalf of Jamie Gilmore
 Bar No. 24045262
jgilmore@galyen.com
 Envelope ID: 52994771
Status as of 5/3/2021 4:35 PM         CST
Associated Case Party: JENNIFER TEMPLE

Name                  BarNumber   Email                     TimestampSubmitted      Status
Jamie J.Gilmore                   jgilmore@galyen.com       4/30/2021 11:53:31 AM   SENT
Eli Rodriguez                     elirodriguez@galyen.com   4/30/2021 11:53:31 AM   SENT
Brittney L.Thompson               bthompson@galyen.com      4/30/2021 11:53:31 AM   SENT
